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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 MICHAEL BRYANT, et al.,
                               Plaintiffs,
       v.                                             1:04-cv-2462-WSD
 VERNON JONES, et al.,
                             Defendants.

                             OPINION AND ORDER

      This matter is before the Court on Defendants’ Joint Motion for

Reconsideration or, in the Alternative, for Certification Pursuant to 28 U.S.C.

§ 1292(b) (Mot. for Reconsideration [304]) and Defendants’ Joint Motion for Stay

Pending Appeal. (Mot. for Stay [315].)

      A motion for reconsideration is appropriate only where there is: (1) newly

discovered evidence; (2) an intervening development or change in controlling law;

or (3) a need to correct a clear error of law or fact. Jersawitz v. People TV, 71 F.

Supp. 2d 1330, 1344 (N.D. Ga. 1999); Pres. Endangered Areas of Cobb’s History,

Inc. v. U.S. Army Corps of Eng’rs, 916 F. Supp. 1557, 1560 (N.D. Ga. 1995). A

motion for reconsideration should not be used to present the Court with arguments

already heard and dismissed, or to offer new legal theories or evidence that could
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have been presented in the previously filed motion. Bryan v. Murphy, 246 F.

Supp. 2d 1256, 1259 (N.D. Ga. 2003); see also Pres. Endangered Areas, 916 F.

Supp. at 1560 (“A motion for reconsideration is not an opportunity for the moving

party and their counsel to instruct the court on how the court ‘could have done it

better’ the first time.”).

       Defendants ask the Court to reconsider three rulings, in its November 21,

2006 Order, that: 1) Plaintiff Kelley’s hostile work environment claim is not

barred by the statute of limitations; 2) the statute of limitations for Plaintiff

Kelley’s constructive discharge claim began to run on the date Kelley submitted

her resignation; and 3) Plaintiff Lowe’s retaliation claim is not barred by Travers

v. Jones, 323 F.3d 1294, 1296 (11th Cir. 2003).

       Defendants do not cite newly discovered evidence or an intervening

development or change in controlling law. Defendants primarily rehash arguments

already made in their motions for summary judgment, and with respect to the

statute of limitations issue, make arguments not previously made to the Court.1 A

       1
         Defendants argue that the Court sua sponte concluded that Kelley’s
constructive discharge was an act contributing to her hostile work environment.
(Mot. for Reconsideration, at 3-4.) This is incorrect. Although they were not
particularly clear, Plaintiffs asserted in each of their response briefs that Kelley’s
hostile work environment claim was not barred by the statute of limitations, in part

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motion for reconsideration is not appropriate in this case. The Court will discuss

briefly only the statute of limitations issues.2

Statute of Limitations

      Plaintiff Kelley asserts in this case separate, but interrelated, claims for

hostile work environment and constructive discharge. Defendants acknowledge

this interrelation in discussing Plaintiff Kelley’s constructive discharge claim:

“Plaintiff Kelley’s claim involves ‘one subset of Title VII constructive discharge

claims: constructive discharge resulting from harassment or ‘hostile work

environment.’’” (Mot. for Reconsideration, at 13) (citations omitted). Plaintiff

alleges several acts which she claims contributed to a hostile work environment

and led to her constructive discharge on September 25, 2002. Defendants

deconstruct this interrelation between the hostile work environment and

constructive discharge claims for statute of limitations purposes. First, Defendants

argue there is no act for which they are responsible that occurred within the

limitations period, therefore Kelley’s hostile work environment claim cannot


because Kelley was constructively discharged on October 9, 2002.
      2
         Defendants had the opportunity to fully brief the Court on the statute of
limitations issue. In their motions for summary judgment, Defendants did not
make the arguments they now assert in their Motion for Reconsideration.

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survive summary judgment. Second, Defendants argue that Kelley’s resignation is

not the operative date from which to calculate when the statute of limitations runs

on her constructive discharge claim because the resignation came too late, and the

evidence shows Kelley’s resignation was not motivated by intolerable working

conditions, but by her decision to take another job.

      1.     Kelley’s Hostile Work Environment Claim

      The Court has reviewed the authorities discussed by Defendants in their

motion for reconsideration. The Court agrees that Nat’l R.R. Passenger Corp. v.

Morgan, 536 U.S. 101 (2002), states that “[a] hostile work environment claim is

comprised of a series of acts that collectively constitute one unlawful employment

practice” and that “if an act contributing to the claim occurs within the filing

period, the entire time period of the hostile work environment may be considered

by a court for the purposes of determining liability.” Id. at 117. The question

raised by Defendants, which is not specifically addressed by Morgan, is whether a

resignation by a Plaintiff on the grounds she was constructively discharged

constitutes an act by Defendants contributing to the hostile work environment

claim. The Court again concludes it does.

      The Eleventh Circuit in Akins v. Fulton County, 420 F.3d 1293 (11th Cir.

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2005), explained:

             [I]f an employer’s conduct negatively affects an employee’s
             salary, title, position, or job duties, that conduct constitutes
             an adverse employment action. Constructive discharge
             negatively affects an employee’s job status, and therefore
             constitutes an adverse employment action. In other words,
             where working conditions are so intolerable that a reasonable
             person would have felt compelled to resign, the employer’s
             conduct is an adverse employment action.

Akins, 420 F.3d at 1300-01. Defendants argue a constructive discharge resignation

is not an act of the defendant, but rather is an act of the Plaintiff. Thus, Defendants

argue, the resignation cannot be used as an act contributing to Kelley’s hostile

work environment for purposes of the statute of limitations. Tellingly, Defendants

ignore Akins, and their argument is inconsistent with circuit authority. The

Eleventh Circuit has analyzed the claim of constructive discharge and determined it

is an actionable act caused by the defendant when done with unlawful

motivations.3

      Defendants rely on Velikonja v. Gonzales, 2005 U.S. Dist. LEXIS 43780




      3
         The Court agrees that where an employee alleges a hostile work
environment but does not claim constructive discharge, such as where she
continues to work for her employer, an act of the Defendant other than a forced
resignation is required within the limitations period. Morgan, 536 U.S. at 117.

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(June 23, 2005) rev’d in part on other grounds, 466 F.3d 122 (D.C. Cir. 2006),4 to

support their argument that a constructive discharge claim cannot constitute an act

contributing to a claim for hostile work environment for statute of limitations

purposes. Velikonja is not persuasive support for the proposition argued by the

Defendants.

      In Velikonja, the plaintiff, a former government employee, asserted various

discrimination claims against her former employer. Plaintiff took a leave without

pay in August 2003 and submitted her resignation in early September 2003. She

claimed her resignation was a constructive discharge. Id. at *3. The defendant

argued that the plaintiff’s constructive discharge claim was barred by the statute of

limitations. The Velikonja court noted that Plaintiff had been on leave for almost a

month before she resigned. Taking that into consideration, the court opined that

the Plaintiff’s constructive discharge claim could not have accrued on the date she

resigned. The Court reasoned that because every alleged retaliatory or

discriminatory act took place in the spring or summer of 2003, and plaintiff went

on leave in August 2003, “working conditions could not possibly have become

intolerable during the time in which plaintiff was not even going to work.” Id.

      4
          Defendants are urged to cite case history completely.

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*20. The Court continued: “Thus, if a constructive discharge claim had been

triggered at all, this happened prior to plaintiff’s taking leave in August 2003, and

thus, plaintiff’s complaint on October 16 was untimely.” Id.

      Defendants’ argument for a bright line rule based on Velikonja is

unpersuasive. Besides being a non-binding decision by a district court outside the

Eleventh Circuit, Velikonja does not apply to the issue presented here. Velikonja

dealt with the statute of limitations on a claim for constructive discharge–not a

claim for hostile work environment. Furthermore, the facts of this case are

dissimilar from those in Velikonja. Velikonja did not hold that an employee’s

constructive discharge can never constitute an act contributing to her hostile work

environment claim for statute of limitations purposes, and Defendants do not cite

any Eleventh Circuit authority holding otherwise.5




      5
         The Court notes that even if had held that Kelley’s hostile work
environment claim is barred, her constructive discharge claim survives summary
judgment. Because the constructive discharge claim is based on many of the same
facts as Kelley’s claim for hostile work environment, the hostile work environment
claim is, as a practical matter, an issue that will be litigated in this action. There
necessarily is a convergence of claims in the infrequent case where a plaintiff
alleges a constructive discharge based on many of the same facts as her claim for
hostile work environment. When analyzing these claims, it is impossible and
illogical to ignore one when evaluating the other.

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             2.    Kelley’s Constructive Discharge Claim6

      Defendants next argue that the date of Kelley’s resignation cannot be the

operative date from which the statute of limitations begins to run on her

constructive discharge claim, because such a conclusion allows Kelley to

circumvent the applicable limitations period. In Flaherty v. Metromail Corp., 235

F.3d 133 (2d Cir. 2000), the Second Circuit summarized the issue well:

             [I]f the employer discriminates against an employee and
             purposefully makes the employee’s job conditions so
             intolerable that a reasonable person would feel forced to
             resign, then the resignation is a constructive discharge–a
             distinct discriminatory act for which there is a distinct
             cause of action. . . . We think the date that [the
             plaintiff’s] claim accrued was the date when she gave
             definite notice of her intention to retire, and the rule
             should be the same in all cases of constructive discharge.
             . . .In the case of constructive discharge, it is only the
             employee who can know when the atmosphere has been
             made so intolerable by the discrimination-motivated
             employer that the employee must leave.

      6
         Defendants admit that Stogner and Jones did not argue that Kelley’s
constructive discharge claim was barred by the statute of limitations in their
motions for summary judgment, though Defendant Williams did. (Mot. for
Reconsideration, at 12 n.2.) A motion for reconsideration is not the proper forum
for Defendants to raise arguments they did not assert in their motions for summary
judgment. Accordingly, the Court considers the constructive discharge statute of
limitations argument only with respect to Defendant Williams. Defendant Jones
and Stogner did not raise the issue in their motions for summary judgment, and the
Court will not consider those arguments now.

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Id. at 138 (emphasis added). Commentators have reached the same conclusion.

See 4 Lex K. Larson, Employment Discrimination § 72.07[3] (2d ed. 2006) (“[I]n

cases involving constructive discharge, the limitations period runs from the date

the employee gives notice.”); Lindemann & Grossman, Employment

Discrimination Law, at 936-37 (3d ed. Supp. 2002) (discussing Flaherty and

stating that Courts continue to hold the accrual date of the cause of action for

limitations purposes is the date which the adverse employment action is

communicated to the plaintiff).

       Defendants also cite Velikonja for their argument that the date of an

employee’s resignation cannot be the operative date of a constructive discharge

claim for limitations purposes. Contrary to Defendants’ assertions, the Velikonja

Court expressly acknowledged an employee’s resignation date and date of

constructive discharge may coincide. Velikonja, 2005 U.S. Dist. LEXIS at *19.

For all the reasons discussed in the previous section, Velikonja does not apply to

the facts of this case.

       In the absence of Eleventh Circuit authority directly on this issue, the Court

finds Flaherty and other authorities cited in this Order and in the Court’s



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November 21, 2006 Order to be more convincing. The Court believes Kelley’s

alleged forced resignation based on Defendants’ treatment of her is the date from

which the statute of limitations runs for her constructive discharge claim, and it is

not time-barred.

      Having reviewed Defendants’ motion and the supplemental authority offered

in support of the motion and those disclosed by the Court’s research, the Court

concludes that Plaintiff Kelley’s hostile work environment and constructive

discharge claims are not barred by the statute of limitations. The Court’s holdings

on these issues do not constitute clear error. Defendants’ motion for

reconsideration is denied.

      If the Court declines to amend the rulings in it November 21, 2006, order as

requested by Defendants, Defendants ask the Court to certify the statute of

limitations and Travers issues for immediate appeal. (Mot. for Reconsideration, at

20.) Pursuant to 28 U.S.C. § 1292(b):

             When a district judge, in making a civil action an order
             not otherwise appealable under this section, shall be of
             the opinion that such order involves a controlling
             question of law as to which there is substantial ground
             for difference of opinion and that an immediate appeal
             from the order may materially advance the ultimate
             termination of the litigation, he shall so state in writing in

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             such order.

28 U.S.C. § 1292(b). The Court’s holdings on the statute of limitations and

Travers issue do not constitute controlling questions of law as to which there is

substantial ground for a difference of opinion. Defendants’ motion to certify the

issues for immediate interlocutory appeal is denied.

      Defendants also request that all pre-trial and trial proceedings in this Court

be stayed pending Defendants’ interlocutory appeal of the Court’s decision

regarding qualified immunity. (Mot. for Stay, at 1-2.) “[A] district court's denial

of a claim of qualified immunity, to the extent that it turns on an issue of law, is an

appealable ‘final decision’ within the meaning of 28 U. S. C. § 1291

notwithstanding the absence of a final judgment.” Mitchell v. Forsyth, 427 U.S.

511, 529 (1985); see also Bennett v. Hendrix, 423 F.3d 1247, 1249 (11th Cir.

2005); Robinson v. Arrugueta, 415 F.3d 1252 , 1257 n.5 (11th Cir. 2005) ("The

important purposes of qualified immunity are thwarted if a case is erroneously

permitted to go to trial."). Plaintiffs do not oppose Defendants’ motion for a stay.

(Pl. Resp. to Mot. to Stay [332].) Defendants’ Motion for Stay is therefore

granted. See Blinco v. Green Tree Servicing, LLC, 366 F.3d 1249, 1251 (11th Cir.

2004) (“[A] federal district court and a federal court of appeals should not attempt

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to assert jurisdiction over a case simultaneously. The filing of a notice of appeal is

an event of jurisdictional significance--it confers jurisdiction on the court of

appeals and divests the district court of its control over those aspects of the case

involved in the appeal.").

      Accordingly,

      IT IS ORDERED that Defendants’ Joint Motion for Reconsideration or, in

the Alternative, for Certification Pursuant to 28 U.S.C. § 1292(b) [304] is

DENIED. Defendants’ Motion for Stay [315] is GRANTED.

      SO ORDERED, this 10th day of January, 2007.




                                        _______________________________
                                        WILLIAM S. DUFFEY, JR.
                                        UNITED STATES DISTRICT JUDGE




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